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                           IN THE UNITED STATES BANKRUPTCY
                          COURT FOR THE WESTERN DISTRICT OF
                                 TEXAS AUSTIN DIVISION

                                                       §
                                                       §
   In re:                                              §      Chapter 11
                                                       §
   MADJAK, LLC                                         §     Case No. 22-10641-tmd
   Dba Face to Face Spa                                §
     Debtor                                            §


                   DEBTOR’S MOTION FOR USE OF CASH COLLATERAL

  TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE:

            COMES NOW Madjak, LLC, Debtor herein, and files this Motion for Use of Cash

  Collateral, and in support thereof would show the following:

            1.    By this Motion, the Debtor seeks interim and final relief allowing it to use cash

  collateral in the continuing operation of its business.

                        JURISDICTION AND PROCEDURAL BACKGROUND

            2.    On September 30, 2022 (the “Petition Date”), Debtor filed a voluntary petition for

  relief under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”) in the United

  States Bankruptcy Court for the Western District of Texas, Austin Division (“Court”), thereby

  commencing this chapter 11 case (“Case”). Debtor continues in possession of its property and it

  is operating and managing its business as a debtor in possession pursuant to the provisions of 11

  U.S.C. §§ 1107(a) and 1108.

            3.    No trustee or examiner has been appointed in the Debtor’s Chapter 11 Case, nor

  has a creditors’ committee or other official committee been appointed pursuant to 11 U.S.C. §

  1102.
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         4.      The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 1334 and 157.

  This Motion is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A). Venue is proper in this

  Court pursuant to 28 U.S.C. §§ 1408 and 1409.

         5.      The basis for the relief herein is primarily grounded in 11 U.S.C. §363

  Overview

         6.      The Debtor operates a med spa on Avery Ranch Road in Austin, Texas.


         7.      Review of the records of the Texas Secretary of State disclose the following filed

  liens against the Debtor:


   Date of Filing      Lienholder         Original Amount              Collateral
   6/14/2020           U.S.        Small            $499,300.00        All tangible and intangible
                       Business                                        personal property
                       Administration
   2/8/2022            IRS                           $21,155.49        All property
   4/20/2022           IRS                           $55,828.14        All property
   7/13/2022           IRS                            $5,736.11        All property
   8/15/2022           IRS                           $30,276.25        All property
   9/9/2022            Corporation                   $38,817.00        Accounts receivable
                       Service Company
                       as representative
                       for        Everest
                       Business Funding
   9/9/2022            Funding Metrics               $16,722.00        Accounts receivable
   9/9/2022            Fintegra, LLC                 $41,799.72        Accounts receivable
   9/19/2022           IRS                           $16,753.69        All property


         8.      The liens of Everest Business Funding, Funding Metrics and Fintegra, LLC were

  all perfected during the preference period and are subject to avoidance.


         9.      The lien of the Small Business Administration likely exceeds the value of the

  Debtor’s assets so that the other secured creditors are likely unsecured.


         Reasons for Filing Bankruptcy
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         10.       The Debtor provides services promoting skin health and beauty. Its services are an

  optional lifestyle enhancement. During Covid-19, its revenues declined dramatically as its

  customers, primarily women, did not go out in public as much. During this time, the Debtor became

  delinquent on its obligations to the Internal Revenue Service and took out several merchant cash

  advance loans.


                              NECESSITY FOR REQUESTED RELIEF

         11.       Debtor generates Cash Collateral from the operation of its business when it collects

  revenues from its customers. Debtor must obtain approval for the use of the Cash Collateral. It is

  critical for Debtor to have access to its cash and other business property to continue to operate in

  the ordinary course of business and to pay normal operating expenses.

         12.        Debtor can meet its ongoing post-petition obligations only if it borrows funds

  post-petition or obtains authority for use of Cash Collateral. It believes the former will decrease

  the value of its business. Debtor believes the latter is preferable as it has generated multiple

  projections and believes it is able to cash flow post-petition if it has the funds available from or

  generated by its pre-petition cash collateral to pay its post-petition expenses. Thus, in order to

  continue operations as normal and to preserve the value of the estate pending confirmation of a

  plan of reorganization, Debtor needs immediate authority to use the Cash Collateral.

                    ARGUMENTS AND AUTHORITIES IN SUPPORT OF REQUEST
                    FOR TEMPORARY AND FINAL USE OF CASH COLLATERAL

         13.       Debtor requires immediate authority from the Court to use the Cash Collateral in

  the ordinary course of its business and on an interim basis until there is a final hearing on this

  Motion.

         14.       Debtor requests the authority to use cash collateral to operate its business.

         15.       Under 11 U.S.C. §363(c)(2), the Debtor may not use, sell, or lease the Cash
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  Collateral without the Court’s authority or consent. Section 363(e) allows the Court to grant this

  authority upon the provision of adequate protection to the secured parties.

          16.     Debtor requires the continued authority to use Cash Collateral beyond the interim

  period in order to continue its business until a plan of reorganization can be confirmed. Debtor’s

  need to use the Cash Collateral will continue during the pendency of this bankruptcy case.

          17.     Debtor also requests that this Court schedule a hearing for final approval on the use

  of Cash Collateral, on notice to creditors and parties in interest, in the event an objection is filed

  to the terms of the interim order.

          18.     The immediate and temporary approval for the use of the Cash Collateral is

  consistent with (i) Bankruptcy Code requirements for maintaining the going concern of a debtor’s

  business operations; (ii) the law under 11 U.S.C. §§ 363 and 361 as to the use of cash collateral

  and adequate protection; and (iii) facilitating a successful reorganization under chapter 11 of the

  Bankruptcy Code.

          19.     The failure to authorize the immediate use of Cash Collateral on which the secured

  parties hold liens will result in a swift and significant deterioration of Debtor’s business. Failure

  to gain authority to use, sell, or lease such collateral will result in a cessation of Debtor’s business

  activities, which would expose Debtor to additional liability and would leave unsecured creditors

  with little hope of distribution in this case.

          20.     The Bankruptcy Code contemplates a debtor’s use of collateral during the

  reorganization of its business. Sections 102(1) and 363 of the Bankruptcy Code provide that

  collateral may be used upon notice and opportunity for a hearing appropriate in the particular

  circumstances. Relief may be authorized without an actual hearing if there is insufficient time

  available and adequate protection has been provided. 11 U.S.C. § 363(e). The combination of
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  Debtor’s emergency needs to satisfy pending obligations and current operating needs, together

  with the provision of adequate protection are sufficient to authorize the interim use of the collateral

  as set forth herein.

          21.     Section 361 of the Bankruptcy Code sets forth various types of adequate protection

  which Debtor may provide:

          a.             making periodic cash payments to the extent that the creditor suffers a decrease

  in the value of its interest in such property;

          b.             granting replacement liens in collateral to compensate the creditor for any

  decrease in the value of the creditor’s interest in such property; or

          c.             granting other relief as will result in the realization of the indubitable equivalent

  of the creditor’s interest in collateral.

  Additionally, the presence of an equity cushion may be sufficient to provide adequate protection.

          14.     Debtor proposes to provide adequate protection to the parties with an interest in

  cash collateral in the following manner

          a.      The Debtor shall provide all creditors with an interest in cash collateral with a

  replacement lien upon assets obtained post-petition to the same extent, priority and validity as their

  pre-petition liens.

          b.      Debtor will maintain insurance upon its assets.

          15.     Debtor requests permission to pay its usual and customary operating expenses of

  the same type and approximate amounts set forth on its budget.              Debtor’s estimated cashflow

  budget is attached as Exhibit A.

          WHEREFORE, Debtor requests that the Court authorize the use, sale, or lease of Cash

  Collateral on an interim basis and, upon setting and conducting a final hearing, issue a final order
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  authorizing the use, sale, or lease of such cash collateral with the adequate protection to the secured

  parties as set forth herein; and grant any other and further relief to which Debtor is entitled.

                                                 Respectfully Submitted,

                                                 BARRON & NEWBURGER, P.C.
                                                 7320 N. Mopac Expy, Suite 400
                                                 Austin, Texas 78731
                                                 (512) 649-3243
                                                 (512) 476-9253 Facsimile

                                                 /s/ Stephen Sather
                                                 Stephen Sather
                                                 State Bar No 17657520
                                                 ATTORNEY FOR DEBTOR


                                 CERTIFICATE OF SERVICE

          The undersigned hereby certifies that on October 3, 2022, a true and correct copy of the
  above and foregoing Expedited Motion for Cash Collateral was served upon the parties on the
  attached Matrix by United States Mail, first class, postage prepaid, or by electronic transmission
  through the Court’s ECF noticing system to those parties-in-interest registered to receive such
  service.



                                                         /s/ Stephen Sather_____
                                                         Stephen Sather
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Label Matrix for local noticing                      Madjak, LLC                                          U.S. BANKRUPTCY COURT
0542-1                                               14900 Avery Ranch Blvd., Suite C100                  903 SAN JACINTO, SUITE 322
Case 22-10641-tmd                                    Austin, TX 78717-3960                                AUSTIN, TX 78701-2450
Western District of Texas
Austin
Fri Sep 30 16:37:51 CDT 2022
(p)EVEREST BUSINESS FUNDING LLC                      Fintegra                                             Funding Metrics
8200 NW 52ND TERR                                    99 Wall Street Suite 686                             dba Lendini
SECOND FLOOR                                         New York, NY 10005-4301                              3220 Tillman Drive,
DORAL FL 33166-7852                                                                                       Suite 200
                                                                                                          Bensalem, PA 19020-2028

Internal Revenue Service                             Linidini                                             McGahey, Robert
Centralized Insolvency Office                        3220 Tilman Drive 19020-2050                         1900 CR 245
Po Box 7346                                                                                               Georgetown, TX 78633-4394
Philadelphia, PA 19101-7346


Merz North America, Inc.                             Rossman, Jeff                                        (p)TEXAS COMPTROLLER OF PUBLIC ACCOUNTS
PO Box 10973                                         8105 Ceberry, Unit B                                 REVENUE ACCOUNTING DIV - BANKRUPTCY SECTION
Palatine, IL 60055-0973                              Austin, TX 78759-8705                                PO BOX 13528
                                                                                                          AUSTIN TX 78711-3528


Texas Workforce Commission                           U.S. Small Business Administration                   United States Attorney
TWC Building - Reg. Integrity Div.                   Little Rock Commercial Loan Processing               Department of Justice
101 East 15th Street                                 Center 2120 Riverfront Drive, Suite 100              950 Pennsylvania Avenue, N.W.
Austin, TX 78701-1442                                Little Rock, AR 72202-1794                           Washington, DC 20530-0009


United States Attorney, U.S. SBA                     United States Trustee - AU12                         Stephen W. Sather
601 N.W. Loop 410 600                                United States Trustee                                Barron & Newburger, PC
San Antonio, TX 78216-5597                           903 San Jacinto Blvd, Suite 230                      7320 N MoPac Expy, Suite 400
                                                     Austin, TX 78701-2450                                Austin, TX 78731-2347




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Everest Business Funding, LLC                        Texas Comptroller of Public Accounts                 End of Label Matrix
5 West 37th Street Suite 1100                        Bankruptcy Section                                   Mailable recipients    17
New York, NY 10018                                   PO Box 13528                                         Bypassed recipients     0
                                                     Austin, TX 78711                                     Total                  17
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4th Quarter Cash Flow Forecast 2022
MADJAK LLC DBA FACE TO FACE SPA AT AVERY RANCH                    2019           2022             %-Chg
                                                                                                                                                                                                                                                                                  Cash Flow Analysis
Income Budget Change/Current   Oct**(Loan for $63,805)            $137,545.91    $66,129.00               70,000.00
***Using 2019 Numbers***       Nov                                $74,526.88     $68,900.00
                                                                                                          60,000.00
                               Dec                                $96,885.07     $78,200.00
                                                                  2019           2022             %-Chg   50,000.00
Expense Budget Change/Current      Oct                            $131,211.97
***Using 2019 Numbers***           Nov                            $83,846.02                              40,000.00
                                   Dec                            $93,253.82
                                                                                                          30,000.00

                                   4th Quarter                    Categories     Adjusted                 20,000.00
                                   2022 Cash Flow                 Budget         Budget
                                                                                                          10,000.00
                                   Income                             $213,229                0
                                                                                                               0.00
                                   Expenses                           $195,479                0




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                                   Cash Flow                         $5,684.60

Expense                 Schedule
Due Date                           Expense                        Amount                                                                                                                                   Running Cash Flow                                                                                                           Running Cash Flow                                                                                                                          2019                                                2022
                                                                                                                                                                                                                          2019                                                                                                                        2022                                                                                                                  Net Deposits                                        Net Deposit
                                                                                                                                                                                                                          Open                                            $8,056.58                                                                   Open                                                                  $15.00                                                                                                 Forecast
            10/1/2022              ATT                                 $286.19                                                                                                                                       10/1/2019                                           $10,754.07                                                              10/1/2022                                                              $32,030.19                                               $36,453.52                                     $31,729.00
            10/2/2022              Advertising                         $602.00                                                                                                                                       10/2/2019                                           $11,866.99                                                              10/2/2022                                                              $33,130.19                                                $1,190.19                                      $1,100.00
            10/3/2022              Retail Products                   $3,000.00                                                                                                                                       10/3/2019                                           $24,199.91                                                              10/3/2022                                                              $31,230.19                                                $1,168.29                                      $1,100.00
            10/4/2022              Supplies                            $500.00                                                                                                                                       10/4/2019                                            $4,000.71                                                              10/4/2022                                                              $32,130.19                                                $1,770.18                                      $1,400.00
            10/5/2022              Rent/Payroll/Intuit              $23,773.00                                                                                                                                       10/5/2019                                            $3,929.80                                                              10/5/2022                                                               $9,257.19                                                  $845.32                                        $900.00
            10/6/2022              Google Storage/Franchise Fee        $905.40                                                                                                                                       10/6/2019                                            $3,767.43                                                              10/6/2022                                                               $9,551.79                                                $1,325.20                                      $1,200.00
            10/7/2022              Electric                            $681.00                                                                                                                                       10/7/2019                                            $5,441.51                                                              10/7/2022                                                               $9,970.79                                                $1,084.45                                      $1,100.00
            10/8/2022              Dr Fee                              $675.00                                                                                                                                       10/8/2019                                            $7,304.86                                                              10/8/2022                                                              $10,595.79                                                $1,594.32                                      $1,300.00
            10/9/2022              Supplies                            $500.00                                                                                                                                       10/9/2019                                            $6,507.02                                                              10/9/2022                                                              $11,295.79                                                $1,301.97                                      $1,200.00
           10/10/2022              IRS Deposit                       $3,500.00                                                                                                                                      10/10/2019                                           $66,656.48                                                             10/10/2022                                                               $8,895.79                                                $1,100.88                                      $1,100.00
           10/11/2022                                                                                                                                                                                               10/11/2019                                           $52,217.91                                                             10/11/2022                                                              $10,395.79                                                $1,621.34                                      $1,500.00
           10/12/2022              Google Storage                       $12.00                                                                                                                                      10/12/2019                                           $50,064.52                                                             10/12/2022                                                              $11,583.79                                                $1,271.58                                      $1,200.00
           10/13/2022              ATT                                                                                                                                                                              10/13/2019                                           $49,994.15                                                             10/13/2022                                                              $12,583.79                                                  $967.85                                      $1,000.00
           10/14/2022              Retail Products                   $3,000.00                                                                                                                                      10/14/2019                                           $49,931.10                                                             10/14/2022                                                              $10,883.79                                                $1,407.34                                      $1,300.00
           10/15/2022              Spectrum Internet                   $131.00                                                                                                                                      10/15/2019                                           $52,251.04                                                             10/15/2022                                                              $11,552.79                                                  $324.93                                        $800.00
           10/16/2022                                                                                                                                                                                               10/16/2019                                           $34,214.68                                                             10/16/2022                                                              $12,952.79                                                $1,599.16                                      $1,400.00
           10/17/2022                                                                                                                                                                                               10/17/2019                                           $33,211.51                                                             10/17/2022                                                              $14,152.79                                                $1,288.54                                      $1,200.00
           10/18/2022              Sales Tax                         $1,155.00                                                                                                                                      10/18/2019                                           $25,061.08                                                             10/18/2022                                                              $14,197.79                                                $1,113.22                                      $1,200.00
           10/19/2022                                                                                                                                                                                               10/19/2019                                           $24,969.08                                                             10/19/2022                                                              $15,997.79                                                $1,956.90                                      $1,800.00
           10/20/2022              Nextiva/Payroll/Insurance        $12,949.00                                                                                                                                      10/20/2019                                           $24,931.28                                                             10/20/2022                                                               $3,748.79                                                  $703.14                                        $700.00
           10/21/2022              Franchise Fee                     $3,700.00                                                                                                                                      10/21/2019                                           $13,028.15                                                             10/21/2022                                                                 $848.79                                                  $871.12                                        $800.00
           10/22/2022                                                                                                                                                                                               10/22/2019                                           $13,466.41                                                             10/22/2022                                                               $1,648.79                                                  $796.83                                        $800.00
           10/23/2022                                                                                                                                                                                               10/23/2019                                           $12,042.49                                                             10/23/2022                                                               $2,648.79                                                $1,023.24                                      $1,000.00
           10/24/2022              IRS Deposit                       $3,100.00                                                                                                                                      10/24/2019                                           $11,943.67                                                             10/24/2022                                                                 $648.79                                                $1,154.43                                      $1,100.00
           10/25/2022              Mood                                $165.00                                                                                                                                      10/25/2019                                           $12,065.89                                                             10/25/2022                                                               $1,583.79                                                $1,069.25                                      $1,100.00
           10/26/2022              Advertising/ATT                     $625.00                                                                                                                                      10/26/2019                                           $12,025.90                                                             10/26/2022                                                               $2,558.79                                                $2,583.08                                      $1,600.00
           10/27/2022              Retail Products                   $2,000.00                                                                                                                                      10/27/2019                                           $11,992.78                                                             10/27/2022                                                               $2,158.79                                                $2,204.82                                      $1,600.00
           10/28/2022              Repairs                             $400.00                                                                                                                                      10/28/2019                                           $13,421.87                                                             10/28/2022                                                               $2,758.79                                                  $851.08                                      $1,000.00
           10/29/2022              Supplies                            $500.00                                                                                                                                      10/29/2019                                           $17,244.51                                                             10/29/2022                                                               $3,058.79                                                  $373.45                                        $800.00
           10/30/2022              Loans                             $3,000.00                                                                                                                                      10/30/2019                                           $15,551.97                                                             10/30/2022                                                               $1,458.79                                                $1,414.38                                      $1,400.00
           10/31/2022                                                                                                                                                                                               10/31/2019                                           $14,390.52                                                             10/31/2022                                                               $2,158.79                                                  $699.71                                        $700.00
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 11/1/2022   ATT                                   $286.19           11/1/2019   $14,684.70    11/1/2022   $33,601.60   $36,165.59   $32,000.00
 11/2/2022   Advertising                           $602.00           11/2/2019   $14,334.70    11/2/2022   $34,099.60    $1,429.33    $1,200.00
 11/3/2022   Retail Products                     $3,000.00           11/3/2019   $14,334.70    11/3/2022   $32,199.60    $1,514.75    $1,200.00
 11/4/2022   Supplies                              $500.00           11/4/2019   $17,797.33    11/4/2022   $33,099.60    $1,833.40    $1,400.00
 11/5/2022   Rent/Payroll/Intuit                $23,773.00           11/5/2019   $18,785.22    11/5/2022   $10,226.60    $1,088.72    $1,000.00
 11/6/2022   Google Storage/Franchise Fee          $905.40           11/6/2019   $16,218.45    11/6/2022   $10,521.20    $1,032.19    $1,200.00
 11/7/2022   Electric                              $681.00           11/7/2019   $14,444.13    11/7/2022   $10,940.20    $1,652.78    $1,200.00
 11/8/2022   Dr Fee                                $675.00           11/8/2019   $12,399.09    11/8/2022   $11,565.20    $1,709.79    $1,400.00
 11/9/2022   Supplies                              $500.00           11/9/2019   $12,228.68    11/9/2022   $12,265.20    $1,596.09    $1,200.00
11/10/2022   IRS Deposit                         $3,500.00          11/10/2019   $12,228.68   11/10/2022    $9,865.20      $958.36    $1,100.00
11/11/2022                                  0        $0.00          11/11/2019   $12,228.68   11/11/2022   $11,365.20    $1,703.01    $1,500.00
11/12/2022   Google Storage                         $12.00          11/12/2019   $11,521.13   11/12/2022   $12,553.20      $898.81    $1,200.00
11/13/2022   ATT                                     $0.00          11/13/2019   $12,340.55   11/13/2022   $13,553.20      $982.56    $1,000.00
11/14/2022   Retail Products                     $3,000.00          11/14/2019   $13,508.11   11/14/2022   $11,853.20      $746.23    $1,000.00
11/15/2022   Spectrum Internet                     $131.00          11/15/2019   $13,778.99   11/15/2022   $12,522.20    $1,427.29    $1,000.00
11/16/2022                                  0        $0.00          11/16/2019   $13,778.99   11/16/2022   $13,922.20    $1,254.20    $1,200.00
11/17/2022                                  0        $0.00          11/17/2019   $13,778.99   11/17/2022   $15,122.20    $1,569.55    $1,200.00
11/18/2022   Sales Tax                           $1,155.00          11/18/2019   $13,347.17   11/18/2022   $15,167.20      $936.05    $1,100.00
11/19/2022                                  0        $0.00          11/19/2019   $10,885.99   11/19/2022   $16,967.20    $1,298.64    $1,300.00
11/20/2022   Nextiva/Payroll/Insurance          $12,949.00          11/20/2019    $5,408.70   11/20/2022    $5,018.20      $876.18    $1,000.00
11/21/2022   Franchise Fee                       $3,700.00          11/21/2019      $924.87   11/21/2022    $2,318.20    $1,629.15    $1,200.00
11/22/2022                                  0        $0.00          11/22/2019      $240.80   11/22/2022    $3,318.20    $1,239.28    $1,000.00
11/23/2022                                  0        $0.00          11/23/2019      $240.80   11/23/2022    $4,318.20    $2,468.67    $2,000.00
11/24/2022   IRS Deposit                         $3,100.00          11/24/2019      $240.80   11/24/2022    $1,218.20      $945.35        $0.00
11/25/2022   Mood                                  $165.00          11/25/2019    $1,874.82   11/25/2022    $2,153.20    $1,508.05    $1,100.00
11/26/2022   Advertising/ATT                       $625.00          11/26/2019    $4,197.70   11/26/2022    $3,128.20    $1,989.52    $1,600.00
11/27/2022   Retail Products                     $2,000.00          11/27/2019    $4,544.36   11/27/2022    $2,728.20    $3,804.90    $3,000.00
11/28/2022   Repairs                               $400.00          11/28/2019    $4,544.36   11/28/2022    $3,328.20      $224.00      $600.00
11/29/2022   Supplies                              $500.00          11/29/2019    $5,071.38   11/29/2022    $3,628.20    $2,913.37    $2,000.00
11/30/2022   Loans                               $3,000.00          11/30/2019    $5,071.38   11/30/2022    $2,028.20    $2,266.27    $2,000.00
 12/1/2022   ATT                                   $286.19           12/1/2019    $4,194.80    12/1/2022   $33,471.01   $37,399.26   $33,000.00
 12/2/2022   Advertising                           $602.00           12/2/2019   $10,641.82    12/2/2022   $33,969.01    $3,442.51    $3,000.00
 12/3/2022   Retail Products                     $3,000.00           12/3/2019   $46,551.39    12/3/2022   $32,069.01    $1,477.76    $1,400.00
 12/4/2022   Supplies                              $500.00           12/4/2019   $14,334.36    12/4/2022   $32,969.01    $1,408.85    $1,400.00
 12/5/2022   Rent/Payroll/Intuit                $23,773.00           12/5/2019   $15,041.96    12/5/2022   $10,096.01      $955.23    $1,000.00
 12/6/2022   Google Storage/Franchise Fee          $905.40           12/6/2019   $15,424.62    12/6/2022   $10,390.61    $2,622.13    $2,000.00
 12/7/2022   Electric                              $681.00           12/7/2019   $15,237.37    12/7/2022   $10,809.61    $1,421.07    $1,300.00
 12/8/2022   Dr Fee                                $675.00           12/8/2019   $15,237.37    12/8/2022   $11,434.61    $1,801.39    $1,500.00
 12/9/2022   Supplies                              $500.00           12/9/2019   $14,860.83    12/9/2022   $12,134.61      $544.00    $1,200.00
12/10/2022   IRS Deposit                         $3,500.00          12/10/2019   $12,644.76   12/10/2022    $9,734.61    $1,049.80    $1,100.00
12/11/2022                                  0        $0.00          12/11/2019   $10,641.78   12/11/2022   $11,234.61    $2,502.63    $2,000.00
12/12/2022   Google Storage                         $12.00          12/12/2019   $10,817.72   12/12/2022   $12,422.61    $1,562.58    $1,200.00
12/13/2022   ATT                                     $0.00          12/13/2019   $10,776.98   12/13/2022   $13,422.61    $3,478.96    $3,000.00
12/14/2022   Retail Products                     $3,000.00          12/14/2019   $10,746.39   12/14/2022   $11,722.61    $1,911.65    $1,500.00
12/15/2022   Spectrum Internet                     $131.00          12/15/2019   $10,746.39   12/15/2022   $12,391.61    $1,444.42    $1,200.00
12/16/2022                                  0        $0.00          12/16/2019   $15,232.58   12/16/2022   $13,791.61      $599.98    $1,400.00
12/17/2022                                  0        $0.00          12/17/2019   $12,435.32   12/17/2022   $14,991.61    $1,862.58    $1,600.00
12/18/2022   Sales Tax                           $1,155.00          12/18/2019   $10,943.92   12/18/2022   $15,036.61    $2,795.03    $2,100.00
12/19/2022                                  0        $0.00          12/19/2019    $9,769.18   12/19/2022   $16,836.61      $757.44    $1,000.00
12/20/2022   Nextiva/Payroll/Insurance          $12,949.00          12/20/2019    $4,412.76   12/20/2022    $4,887.61    $2,293.91    $2,000.00
12/21/2022   Franchise Fee                       $3,700.00          12/21/2019    $4,287.76   12/21/2022    $2,187.61    $3,462.02    $3,000.00
12/22/2022                                  0        $0.00          12/22/2019    $4,287.76   12/22/2022    $3,187.61    $1,481.51    $1,200.00
12/23/2022                                  0        $0.00          12/23/2019    $1,564.98   12/23/2022    $4,187.61    $2,436.64    $2,000.00
12/24/2022   IRS Deposit                         $3,100.00          12/24/2019    $5,753.40   12/24/2022    $1,087.61      $378.00        $0.00
12/25/2022   Mood                                  $165.00          12/25/2019        $0.00   12/25/2022      $922.61        $0.00        $0.00
12/26/2022   Advertising/ATT                       $625.00          12/26/2019    $6,731.58   12/26/2022    $1,897.61    $2,278.95    $2,000.00
12/27/2022   Retail Products                     $2,000.00          12/27/2019    $5,020.34   12/27/2022    $1,497.61    $1,854.10    $1,600.00
12/28/2022   Repairs                               $400.00          12/28/2019    $5,020.34   12/28/2022    $2,097.61    $1,989.68    $1,000.00
12/29/2022   Supplies                              $500.00          12/29/2019    $5,020.34   12/29/2022    $2,397.61    $1,959.03      $800.00
12/30/2022   Loans                               $3,000.00          12/30/2019    $8,015.93   12/30/2022      $797.61    $2,570.41    $2,000.00
12/31/2022                                  0        $0.00          12/31/2019    $8,702.63   12/31/2022    $1,497.61    $1,097.02      $700.00
